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                           **NOT FOR PRINTED PUBLICATION**

                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                   LUFKIN DIVISION

SWIPE INNOVATIONS, LLC                          §
                                                §
                      Plaintiff,                §
                                                §       Civil Action No. 9-13-CV-16
v.                                              §
                                                §       JUDGE RON CLARK
PAX TECHNOLOGY, INC. et al.                     §
              Defendants.                       §
                                                §
                                                §

                                   ORDER OF DISMISSAL

       Before the court is the parties’ joint stipulation of dismissal. [Doc. # 27]. The court is of

the opinion the stipulation should be entered and this case dismissed. IT IS THEREFORE

ORDERED THAT all claims and counterclaims asserted in this suit between Plaintiff Swipe

Innovations LLC and Defendants Pax Technology, Inc., PAX Global Technology Ltd., and Hi

Sun Technology (China) Ltd., are DISMISSED WITH PREJUDICE subject to the terms of that

certain agreement entitled “SETTLEMENT AND LICENSE AGREEMENT” dated July 8, 2013.

Each party shall bear its own costs, expenses, and attorneys’ fees.


         So ORDERED and SIGNED this 29 day of July, 2013.




                                                        ___________________________________
                                                        Ron Clark, United States District Judge
